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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

ENCHANTEDMOB, INC.,
                                                         Case No. 22-cv-03351
                  Plaintiff,

v.

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

                  Defendants.


                                            COMPLAINT

          Plaintiff EnchantedMob, Inc. (“Plaintiff”) hereby brings the present action against the

Partnerships and Unincorporated Associations identified on Schedule A attached hereto

(collectively, “Defendants”) and alleges as follows:

                                  I. JURISDICTION AND VENUE

          1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Copyright Act 17 U.S.C. § 501, et seq., 28 U.S.C. § 1338(a), and

28 U.S.C. § 1331.

          2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive e-commerce stores 1 operating under the seller aliases identified in

Schedule A attached hereto (the “Seller Aliases”). Specifically, Defendants have targeted sales to



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    The e-commerce store URLs are listed on Schedule A hereto under the Online Marketplaces.
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Illinois residents by setting up and operating e-commerce stores that target United States

consumers using one or more Seller Aliases, offer shipping to the United States, including Illinois,

accept payment in U.S. dollars and, on information and belief, have sold products that are

unauthorized copies of the federally registered Poppy Playtime copyrighted designs (the

“Unauthorized Poppy Playtime Products”) to residents of Illinois. Each of the Defendants is

committing tortious acts in Illinois, is engaging in interstate commerce, and has wrongfully caused

Plaintiff substantial injury in the State of Illinois.

                                        II. INTRODUCTION

        3.      This action has been filed by Plaintiff to combat e-commerce store operators who

trade upon Plaintiff’s reputation and goodwill by selling and/or offering for sale Unauthorized

Poppy Playtime Products. Defendants create e-commerce stores operating under one or more

Seller Aliases that are advertising, offering for sale, and selling Unauthorized Poppy Playtime

Products to unknowing consumers. E-commerce stores operating under the Seller Aliases share

unique identifiers, establishing a logical relationship between them and that Defendants’ unlawful

operation arises out of the same transaction, occurrence, or series of transactions or occurrences.

Defendants attempt to avoid and mitigate liability by operating under one or more Seller Aliases

to conceal both their identities and the full scope and interworking of their operation. Plaintiff is

forced to file this action to combat Defendants’ infringement of the registered Poppy Playtime

copyrighted designs, as well as to protect unknowing consumers from purchasing Unauthorized

Poppy Playtime Products over the Internet. Plaintiff has been and continues to be irreparably

damaged through the infringement of the registered Poppy Playtime copyrighted designs as a result

of Defendants’ actions and seeks injunctive and monetary relief.




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                                       III. THE PARTIES

Plaintiff

       4.      Plaintiff EnchantedMob, Inc. is a corporation with its principal place of business in

St. Louis, Missouri.

       5.      Plaintiff is a digital entertainment company that creates and distributes high quality

animated content on several platforms, but most predominately on Steam. Plaintiff’s focus is on

the production and distribution of digital content and playable video games. Most notably, Plaintiff

developed and released the world-famous video game, Poppy Playtime. Plaintiff released the first

chapter of Poppy Playtime, “A Tight Squeeze,” on October 12, 2021.

       6.      Poppy Playtime is a first-person survival horror game that involves an unnamed

protagonist who is called upon to investigate a mystery at a toy factory abandoned by the fictional

toy company Playtime Co. The player must solve puzzles in order to progress further, all while

avoiding the game’s main antagonist, Huggy Wuggy, a large humanoid figure that once acted as

the mascot of Playtime Co. Huggy Wuggy and other characters associated with the game have

gained significant popularity among those in the gaming community and abroad. Some of these

famous characters are displayed in the following chart:




               Huggy Wuggy




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            Mommy Long Legs




                  Poppy




               Kissy Missy




       7.     In addition to the popular video game, a variety of licensed Poppy Playtime

products are available, including stuffed toys, posters, and clothing (collectively, the “Poppy

Playtime Products”). Poppy Playtime Products typically include at least one of the registered

Poppy Playtime copyrighted designs.
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       8.      Poppy Playtime Products are distributed and sold to consumers directly through

Plaintiff’s website at poppyplaytime.com, as well as through authorized retailers in the United

States, including retailers in Illinois. Genuine Poppy Playtime Products are sold only through

authorized retail channels and are recognized by the public as being exclusively associated with

the Poppy Playtime brand.

       9.      Long before Defendants’ acts described herein, Plaintiff launched the Poppy

Playtime video game and its related line of Poppy Playtime Products bearing its now famous Poppy

Playtime copyrighted designs.

       10.     The Poppy Playtime video game has become a global success that resonates with

children and adults worldwide and has gained wide exposure on platforms such as YouTube and

Twitch. For example, playthrough videos of Chapter 1 of Poppy Playtime have received millions

of views on YouTube.

       11.     The Poppy Playtime characters have gained significant popularity and are

invaluable assets of Plaintiff’s business.

       12.     Plaintiff has registered its Poppy Playtime copyrighted designs (the “Poppy

Playtime Copyrighted Designs”) with the United States Copyright Office, which are as follows:

(1) “HUGGY WUGGY 2D” (U.S. Copyright Registration No. VA0002288105), issued by the

Register of Copyrights on February 23, 2022; (2) “MOMMY LONG LEGS 2D” (U.S. Copyright

Registration No. VA0002293330), issued by the Register of Copyrights on February 24, 2022; (3)

“POPPY” (U.S. Copyright Registration No. VA0002294398), issued by the Register of Copyrights

on April 6, 2022; and (4) “KISSY MISSY” (U.S. Copyright Registration No. VA0002295039),

issued by the Register of Copyrights on April 4, 2022. A true and correct copy of the record from




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the U.S. Copyright Office website for the above-referenced Poppy Playtime Copyrighted Designs

is attached hereto as Exhibit 1.

       13.     Among the exclusive rights granted to Plaintiff under the U.S. Copyright Act are

the exclusive rights to reproduce, prepare derivative works of, distribute copies of, and display the

Poppy Playtime Copyrighted Designs to the public.

       14.     Since their first publication, the Poppy Playtime Copyrighted Designs have been

used on the Poppy Playtime Products and are featured on Plaintiff’s website at

poppyplaytime.com. Poppy Playtime Products featuring the Poppy Playtime Copyrighted Designs

are advertised on Plaintiff’s website at poppyplaytime.com.

The Defendants

       15.     Defendants are individuals and business entities of unknown makeup who own

and/or operate one or more of the e-commerce stores under at least the Seller Aliases identified on

Schedule A and/or other seller aliases not yet known to Plaintiff. On information and belief,

Defendants reside and/or operate in the People’s Republic of China or other foreign jurisdictions

with lax intellectual property enforcement systems or redistribute products from the same or

similar sources in those locations. Defendants have the capacity to be sued pursuant to Federal

Rule of Civil Procedure 17(b).

       16.     On information and belief, Defendants, either individually or jointly, operate one

or more e-commerce stores under the Seller Aliases listed in Schedule A attached hereto. Tactics

used by Defendants to conceal their identities and the full scope of their operation make it virtually

impossible for Plaintiff to learn Defendants’ true identities and the exact interworking of their

network. If Defendants provide additional credible information regarding their identities, Plaintiff

will take appropriate steps to amend the Complaint.



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                        IV. DEFENDANTS’ UNLAWFUL CONDUCT

       17.     The success of the Poppy Playtime video game and brand have resulted in

significant copying of the Poppy Playtime Copyrighted Designs. Consequently, Plaintiff regularly

investigates suspicious e-commerce stores identified in proactive Internet sweeps and reported by

consumers. Plaintiff has identified numerous fully interactive e-commerce stores offering

Unauthorized Poppy Playtime Products on online marketplace platforms such as Amazon, eBay,

AliExpress, Alibaba, Wish.com, Walmart, Etsy, and DHgate, including the e-commerce stores

operating under the Seller Aliases. The Seller Aliases target consumers in this Judicial District and

throughout the United States. According to U.S. Customs and Border Protection (CBP), most

infringing products now come through international mail and express courier services (as opposed

to containers) due to increased sales from offshore online infringers. The Counterfeit Silk Road:

Impact of Counterfeit Consumer Products Smuggled Into the United States, prepared for The Buy

Safe America Coalition by John Dunham & Associates (Exhibit 2). The bulk of infringing

products sent to the United States “come from China and its dependent territories,” accounting for

over 90.6% of all cargo with intellectual property rights (IPR) violations. Id. Of the $1.23 billion

in total IPR violations intercepted, $1.12 billion was from China. Id. Counterfeit and pirated

products account for billions in economic losses, resulting in tens of thousands of lost jobs for

legitimate businesses and broader economic losses, including lost tax revenue. Id.

       18.     Third party service providers like those used by Defendants do not adequately

subject new sellers to verification and confirmation of their identities, allowing infringers to

“routinely use false or inaccurate names and addresses when registering with these e-commerce

platforms.” Exhibit 3, Daniel C.K. Chow, Alibaba, Amazon, and Counterfeiting in the Age of the

Internet, 40 NW. J. INT’L L. & BUS. 157, 186 (2020); see also report on “Combating Trafficking in



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Counterfeit and Pirated Goods” prepared by the U.S. Department of Homeland Security’s Office

of Strategy, Policy, and Plans (Jan. 24, 2020), attached as Exhibit 4, and finding that on “at least

some e-commerce platforms, little identifying information is necessary for a counterfeiter to begin

selling” and recommending that “[s]ignificantly enhanced vetting of third-party sellers” is

necessary. Infringers hedge against the risk of being caught and having their websites taken down

from an e-commerce platform by preemptively establishing multiple virtual store-fronts. Exhibit

4 at p. 22. Since platforms generally do not require a seller on a third-party marketplace to identify

the underlying business entity, infringers can have many different profiles that can appear

unrelated even though they are commonly owned and operated. Exhibit 4 at p. 39. Further, “E-

commerce platforms create bureaucratic or technical hurdles in helping brand owners to locate or

identify sources of counterfeits and counterfeiters.” Exhibit 4 at 186–187.

       19.     Defendants have targeted sales to Illinois residents by setting up and operating e-

commerce stores that target United States consumers using one or more Seller Aliases, offer

shipping to the United States, including Illinois, accept payment in U.S. dollars and, on information

and belief, have sold Unauthorized Poppy Playtime Products to residents of Illinois.

       20.     Defendants concurrently employ and benefit from substantially similar advertising

and marketing strategies. For example, Defendants facilitate sales by designing the e-commerce

stores operating under the Seller Aliases so that they appear to unknowing consumers to be

authorized online retailers, outlet stores, or wholesalers. E-commerce stores operating under the

Seller Aliases appear sophisticated and accept payment in U.S. dollars via credit cards, Alipay,

Amazon Pay, and/or PayPal. E-commerce stores operating under the Seller Aliases often include

content and images that make it very difficult for consumers to distinguish such stores from an

authorized retailer. Plaintiff has not licensed or authorized Defendants to copy and/or distribute



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the Poppy Playtime Copyrighted Designs, and none of the Defendants are authorized retailers of

genuine Poppy Playtime Products.

       21.     E-commerce store operators like Defendants commonly engage in fraudulent

conduct when registering the Seller Aliases by providing false, misleading and/or incomplete

information to e-commerce platforms to prevent discovery of their true identities and the scope of

their e-commerce operation.

       22.     E-commerce store operators like Defendants regularly register or acquire new seller

aliases for the purpose of offering for sale and selling Unauthorized Poppy Playtime Products.

Such seller alias registration patterns are one of many common tactics used by e-commerce store

operators like Defendants to conceal their identities and the full scope and interworking of their

operation, and to avoid being shut down.

       23.     Even though Defendants operate under multiple fictitious aliases, the e-commerce

stores operating under the Seller Aliases often share unique identifiers, such as templates with

common design elements that intentionally omit any contact information or other information for

identifying Defendants or other Seller Aliases they operate or use. E-commerce stores operating

under the Seller Aliases include other notable common features such as use of the same registration

patterns, accepted payment methods, check-out methods, keywords, advertising tactics,

similarities in price and quantities, the same incorrect grammar and misspellings, and/or the use of

the same text and images. Additionally, Unauthorized Poppy Playtime Products for sale by the

Seller Aliases bear similar irregularities and indicia of being unauthorized to one another,

suggesting that the Unauthorized Poppy Playtime Products were manufactured by and come from

a common source and that Defendants are interrelated.




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         24.   E-commerce store operators like Defendants are in constant communication with

each other and regularly participate in QQ.com chat rooms and through websites such as

sellerdefense.cn, kaidianyo.com and kuajingvs.com regarding tactics for operating multiple

accounts, evading detection, pending litigation, and potential new lawsuits.

         25.   Infringers such as Defendants typically operate under multiple seller aliases and

payment accounts so that they can continue operation in spite of Plaintiff’s enforcement. E-

commerce store operators like Defendants maintain off-shore bank accounts and regularly move

funds from their financial accounts to off-shore accounts outside the jurisdiction of this Court to

avoid payment of any monetary judgment awarded to Plaintiff. Indeed, analysis of financial

transaction logs from previous similar cases indicates that off-shore infringers regularly move

funds from U.S.-based financial accounts to off-shore accounts outside the jurisdiction of this

Court.

         26.   Defendants are working in active concert to knowingly and willfully manufacture,

import, distribute, offer for sale, and sell Unauthorized Poppy Playtime Products in the same

transaction, occurrence, or series of transactions or occurrences. Defendants, without any

authorization or license from Plaintiff, have jointly and severally, knowingly and willfully used

and continue to use unauthorized copies of the Poppy Playtime Copyrighted Designs in connection

with the advertisement, distribution, offering for sale, and sale of Unauthorized Poppy Playtime

Products into the United States and Illinois over the Internet.

         27.   Defendants’ use of unauthorized copies of the Poppy Playtime Copyrighted

Designs in connection with the advertising, distribution, offering for sale, and sale of Unauthorized

Poppy Playtime Products, including the sale of Unauthorized Poppy Playtime Products into the




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United States, including Illinois, is likely to cause and has caused confusion, mistake, and

deception by and among consumers and is irreparably harming Plaintiff.

                              COUNT I
COPYRIGHT INFRINGEMENT OF UNITED STATES COPYRIGHT REGISTRATION
                     (17 U.S.C. §§ 106 AND 501)

       28.     Plaintiff hereby re-alleges and incorporates by reference the allegations set forth in

the preceding paragraphs.

       29.     The Poppy Playtime Copyrighted Designs constitute original works and are

copyrightable subject matter pursuant to the Copyright Act, 17 U.S.C. §§ 101, et seq.

       30.     Plaintiff is the owner of the Poppy Playtime Copyrighted Designs. Plaintiff has

complied with the registration requirements of 17 U.S.C. § 411(a) for the Poppy Playtime

Copyrighted Designs. The Poppy Playtime Copyrighted Designs are protected by Copyright

Registration Nos. VA0002288105, VA0002293330, VA0002294398, and VA0002295039, which

were duly issued to Plaintiff by the United States Copyright Office. At all relevant times, Plaintiff

has been and still is the owner of all rights, title, and interest in the Poppy Playtime Copyrighted

Designs, which have never been assigned, licensed, or otherwise transferred to Defendants.

       31.     The Poppy Playtime Copyrighted Designs are published on the Internet and are

available to Defendants online. As such, Defendants had access to the Poppy Playtime Copyrighted

Designs via the Internet.

       32.     Without authorization from Plaintiff, or any right under the law, Defendants have

deliberately copied, displayed, distributed, reproduced and/or made derivate works incorporating

the Poppy Playtime Copyrighted Designs on e-commerce stores operating under the Seller Aliases

and the corresponding Unauthorized Poppy Playtime Products. Defendants’ derivative works are

virtually identical to and/or are substantially similar to the look and feel of the Poppy Playtime



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Copyrighted Designs. Such conduct infringes and continues to infringe the Poppy Playtime

Copyrighted Designs in violation of 17 U.S.C. § 501(a) and 17 U.S.C. §§ 106(1)–(3), (5).

       33.     Defendants reap the benefits of the unauthorized copying and distribution of the

Poppy Playtime Copyrighted Designs in the form of revenue and other profits that are driven by

the sale of Unauthorized Poppy Playtime Products.

       34.     Defendants have unlawfully appropriated Plaintiff’s protectable expression by

taking material of substance and value and creating Unauthorized Poppy Playtime Products that

capture the total concept and feel of the Poppy Playtime Copyrighted Designs.

       35.     On information and belief, the Defendants’ infringement has been willful,

intentional, and purposeful, and in disregard of and with indifference to, Plaintiff’s rights.

       36.     The Defendants, by their actions, have damaged Plaintiff in an amount to be

determined at trial.

       37.     Defendants’ conduct is causing and, unless enjoined and restrained by this Court,

will continue to cause Plaintiff great and irreparable injury that cannot fully be compensated or

measured in money. Plaintiff has no adequate remedy at law. Pursuant to 17 U.S.C. § 502, Plaintiff

is entitled to a preliminary and permanent injunction prohibiting further infringement of the Poppy

Playtime Copyrighted Designs.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

   and all persons acting for, with, by, through, under or in active concert with them be

   temporarily, preliminarily, and permanently enjoined and restrained from:




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       a. reproducing, distributing copies of, making derivative works of, or publicly displaying

           the Poppy Playtime Copyrighted Designs in any manner without the express

           authorization of Plaintiff;

       b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

           Poppy Playtime Product or any other product produced by Plaintiff, that is not

           Plaintiff’s or not produced under the authorization, control, or supervision of Plaintiff

           and approved by Plaintiff for sale under the Poppy Playtime Copyrighted Designs;

       c. committing any acts calculated to cause consumers to believe that Defendants’

           Unauthorized Poppy Playtime Products are those sold under the authorization, control

           or supervision of Plaintiff, or are sponsored by, approved by, or otherwise connected

           with Plaintiff;

       d. further infringing the Poppy Playtime Copyrighted Designs and damaging Plaintiff’s

           goodwill; and

       e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

           storing, distributing, returning, or otherwise disposing of, in any manner, products or

           inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or

           offered for sale, and which bear the Poppy Playtime Copyrighted Designs;

2) Entry of an Order that, upon Plaintiff’s request, those with notice of the injunction, including,

   without limitation, any online marketplace platforms such as eBay, AliExpress, Alibaba,

   Amazon, Wish.com, Walmart, Etsy, and DHgate (collectively, the “Third Party Providers”)

   shall disable and cease displaying any advertisements used by or associated with Defendants

   in connection with the sale of infringing goods which bear the Poppy Playtime Copyrighted

   Designs;



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3) As a direct and proximate result of Defendants’ infringement of the Poppy Playtime

   Copyrighted Designs, Plaintiff is entitled to damages as well as Defendants’ profits, pursuant

   to 17 U.S.C. § 504(b);

4) Alternatively, and at Plaintiff’s election prior to any final judgment being entered, Plaintiff is

   entitled to the maximum amount of statutory damages provided by law, $150,000 per work

   infringed pursuant to 17 U.S.C. § 504(c), or for any other such amount as may be proper

   pursuant to 17 U.S.C. § 504(c);

5) Plaintiff is further entitled to recover its attorneys’ fees and full costs for bringing this action

   pursuant to 7 U.S.C. § 505 and 17 U.S.C. § 1117(a); and

6) Award any and all other relief that this Court deems just and proper.

Dated this 27th day of June 2022.              Respectfully submitted,


                                               /s/ Justin R. Gaudio
                                               Amy C. Ziegler
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